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                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
                                                CRIMINAL MINUTES - GENERAL


 Case No.          CR 19-714 PA                                                                 Date      March 23, 2020


 Present: The Honorable         PERCY ANDERSON, UNITED STATES DISTRICT JUDGE

 Interpreter        Aslan Aslanian - Farsi

                                                                                                         Susan Har
                Kevin Reddick                           Myra Ponce                                     Ashley Filmore
                Deputy Clerk                        Court Reporter                               Assistant U.S. Attorney



                 U.S.A. v. Defendant(s):          Present Cust. Bond          Attorneys for Defendants:          Present App. Ret.

          Raymond Ghaloustian                       X       X            Humberto Diaz                                X         X



 Proceedings:        Status Conference/Arraignment

       Status conference is held. Defendant is named in a Six Count First Superseding
Indictment. The defendant is arraigned and pleads not guilty to the First Superseding
Indictment. The Court orders a trial date, final status conference date, and briefing schedule.
The Final Status Conference is scheduled for Monday, May 18, 2020, at 3:00 p.m. Jury trial is
set for Tuesday, May 26, 2020, at 8:30 a.m. Pretrial motions, including motions in limine shall
be filed no later than April 13, 2020. Oppositions shall be filed no later than April 20, 2020.
Optional replies shall be filed no later than April 27, 2020. Motions shall be heard on May 4,
2020, at 3pm. The attorney for the government shall prepare a proposed order regarding
excludable time.

         IT IS SO ORDERED.




                                                                                                         2        :        09

                                                                     Initials of Deputy Clerk                  KR




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